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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                       §
                                             §
v.                                           §         Case No. 3:19‐cv‐03016‐X
                                             §
GRANT STINCHFIELD                            §

              PLAINTIFF’S REPLY BRIEF IN SUPPORT OF PLAINTIFF’S
                  MOTION FOR ENTRY OF PROTECTIVE ORDER

        Plaintiff, Ackerman McQueen, Inc. (“AMc”), files its Reply Brief in Support of its

Motion for Protective Order (“Motion”) (doc. 11).

        1.    Defendant first attempts to argue that William A. Brewer III (“Brewer”) and

the public relations unit at Brewer Attorneys and Counselors (“Brewer PR”) are not

competitors of AMc. With all due respect to Defendant, this issue has already been

decided against him by not one, but two, courts. In October 2019, after two separate

hearings, the Circuit Court of the City of Alexandria, Virginia (the “Virginia Court”)

determined that Brewer and Brewer PR were direct competitors of AMc and, thus,

needed to be “walled off” from Highly Confidential information:




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Magistrate Judge Toliver reached the same conclusion in a related case, Case No. 3:19‐cv‐

02074‐G, National Rifle Association of America, Inc. v. Ackerman McQueen, Inc. (N.D. Tex.)

(the “NRA Texas Action”):




The NRA and the Brewer firm did not appeal either of these orders. AMc has established

that Brewer and Brewer PR perform many of the same services for the NRA that AMc

used to perform. Thus, the Court should give short shrift to Defendant’s argument that

Brewer and Brewer PR are not competitors of AMc.

      2.     Next, Defendant attempts to argue that “AMc has not established good

cause for entry of its protective order.” This issue has already been decided against

Defendant, too. Magistrate Judge Toliver held that Defendant’s counsel was “attempting

to circumvent the Virginia protective order” and “[i]f Brewer had access to AMc’s Highly

Confidential Information—which includes non‐public financial statements, profit and

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loss data, and sales information relating to specific customers—then Brewer could use

that competitive information to severely prejudice AMc,” both of which “established

good cause and demonstrated ‘a clearly defined and serious injury’ to warrant the

inclusion of the Highly Confidential Information designation in the parties’ protective

order.” The Court should reach the same conclusion here for the same reasons. Entry of

a different type of protective order in this case could allow Brewer and Brewer PR to

make an end‐run around the protective orders entered by the Virginia Court and

Magistrate Judge Toliver and use AMc’s Highly Confidential Information to compete

against and prejudice AMc. Thus, AMc has established good cause and demonstrated a

clearly defined and serious injury to warrant entry of a protective order in this case.

       3.     Defendant then argues that a protective order will preclude Defendant

from receiving effective legal counsel in this matter. But, AMc is not seeking to preclude

everyone at the Brewer firm from reviewing Highly Confidential information, only its

namesake, Brewer, and the public relations unit he oversees, Brewer PR. It is worth

noting that Brewer is not even a signatory to Defendant’s response to AMc’s motion for

protective order. See Doc. 15 at p. 9. Although Defendant’s initial pleading indicated that

he was represented by Brewer and the Brewer firm, see Doc. 7 at p. 14, Defendant’s more

recent filings indicate that he is represented by Brewer Storefront, PLLC (the




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“Storefront”), the pro bono arm of Brewer Attorneys and Counselors.1 See, e.g., Doc. 8 at

p. 4, Doc. 15 at p. 9. Defendant’s more recent filings have been signed solely by Ian Shaw

on behalf of the Storefront, not by Brewer. Id. In fact, other than in the name of the

Storefront, Brewer’s name does not appear anywhere in the more recent signature blocks.

Id. Thus, walling‐off Brewer and Brewer PR presents no harm to Defendant. Even when

Brewer and Brewer PR are walled off from Highly Confidential information in this case,

Defendant can and will continue to receive effective legal counsel through Mr. Shaw and

others at the Storefront.

        4.      In sum, AMc has established good cause and demonstrated a clearly

defined and serious injury to warrant entry of a protective order in this case. Doing so

will prevent Defendant’s counsel from circumventing protective orders entered in other

case and will prevent Brewer and Brewer PR from competing unfairly against AMc.

Defendant, in contrast, has failed to establish any reason that would justify denying entry

of a protective order altogether.

        WHEREFORE, PREMISES CONSIDERED, AMc respectfully asks the Court to

grant AMc’s motion for entry of a protective order and grant AMc such other and further

relief to which it may be justly entitled.




1See https://www.brewerattorneys.com/pro‐bono (indicating that the Storefront was set up to handle on a
pro bono basis “matters that often establish legal precedent and make a long‐term, positive impact on the
community at large”).

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       Dated: July 23, 2020.

                                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 23, 2020, I filed the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas. I hereby certify that I have
served the document on all counsel and/or pro se parties of record by a manner
authorized by Federal Rules of Civil Procedure 5(b)(2).

                                           /s/ Brian Vanderwoude
                                           J. Brian Vanderwoude




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